                                  Case 23-16998-LMI       Doc 52          Filed 01/04/24      Page 1 of 3
Label Matrix for local noticing                Capital One Auto Finance, a division of Capi       Carmel at the California Club Condominium &q
113C-1                                         4515 N Santa Fe Ave. Dept. APS                     BLG Association Law, PLLC
Case 23-16998-LMI                              Oklahoma City, OK 73118-7901                       c/o Jacob Bair, Esq.
Southern District of Florida                                                                      301 W Platt St #375
Miami                                                                                             Tampa, FL 33606-2292
Fri Oct 20 16:55:07 EDT 2023
Carmel at the California Club Property Owner   Acima Credit                                       American Express National Bank
BLG Association Law, PLLC                      9815 South Monroe Street                           c/o Becket and Lee LLP
c/o Jacob Bair, Esq.                           4th Floor                                          PO Box 3001
301 W. Platt St., #375                         Sandy, UT 84070-4384                               Malvern PA 19355-0701
Tampa, FL 33606-2292

Amex                                           Aventura Hospital & Medical Center                 Barclays Bank Delaware
Correspondence/Bankruptcy                      Resurgent Capital Services                         Attn: Bankruptcy
Po Box 981540                                  PO Box 1927                                        125 South West St
El Paso, TX 79998-1540                         Greenville, SC 29602-1927                          Wilmington, DE 19801-5014


CARMEL AT THE CALIFORNIA CLUB CONDOMINIUM &#   CARMEL AT THE CALIFORNIA CLUB PROPERTY OWNER       Capio Partners, LLC
BLG Association Law, PLLC                      c/o BLG Association Law, PLLC                      Attn: Bankruptcy
301 W PLATT ST #375                            301 W Platt St #375                                Po Box 3498
301 W PLATT ST #375                            c/o BLG Association Law, PLLC                      Sherman, TX 75091-3498
Tampa, FL 33606-2292                           Tampa, FL 33606-2292

Capital One                                    Capital One Auto Finance                           Capital One Auto Finance, a division of Capi
Attn: Bankruptcy                               Attn: Bankruptcy                                   P.O. Box 4360
Po Box 30285                                   7933 Preston Rd                                    Houston, TX 77210-4360
Salt Lake City, UT 84130-0285                  Plano, TX 75024-2302


Capital One N.A.                               (p)CARMAX AUTO FINANCE                             (p)JPMORGAN CHASE BANK N A
by American InfoSource as agent                225 CHASTAIN MEADOWS CT                            BANKRUPTCY MAIL INTAKE TEAM
PO Box 71083                                   KENNESAW GA 30144-5942                             700 KANSAS LANE FLOOR 01
Charlotte, NC 28272-1083                                                                          MONROE LA 71203-4774


Checksystems                                   Child Support Enforcement                          Citibank/Sears
7805 Hudson Rd                                 PO Box 8030                                        Citicorp Cr Srvs/Centralized Bankruptcy
Saint Paul, MN 55125-1594                      Tallahassee, FL 32314-8030                         Po Box 790040
                                                                                                  St Louis, MO 63179-0040


Comenity Bank/Victoria Secret                  Comenitycb/sally                                   Credit Collection Services
Attn: Bankruptcy                               Attn: Bankruptcy                                   Attn: Bankruptcy
Po Box 182125                                  Po Box 182125                                      725 Canton St
Columbus, OH 43218-2125                        Columbus, OH 43218-2125                            Norwood, MA 02062-2679


Credit One Bank                                (p)INTERNAL REVENUE SERVICE                        Discover Bank
Attn: Bankruptcy Department                    CENTRALIZED INSOLVENCY OPERATIONS                  Discover Products Inc
6801 Cimarron Rd                               PO BOX 7346                                        PO Box 3025
Las Vegas, NV 89113-2273                       PHILADELPHIA PA 19101-7346                         New Albany, OH 43054-3025


Discover Financial                             (p)EQUIFAX INC                                     Experian
Attn: Bankruptcy                               1550 Peachtree Street NE                           Attn: Bankruptcy Dept.
Po Box 3025                                    Atlanta, GA 30309                                  P.O. Box 2002
New Albany, OH 43054-3025                                                                         Allen, TX 75013-2002
                                    Case 23-16998-LMI           Doc 52          Filed 01/04/24      Page 2 of 3
FLORIDA ADVANCED PROPERTIES, INC.                    Florida Advanced Properties                          Florida Department Of Revenue
PO BOX 770010                                        c/o Anthony Rodriguez                                5050 W Tennessee St
Miami, FL 33177-0001                                 13501 SW 128 STREET, #111                            Tallahassee, FL 32399-0110
                                                     Miami, FL 33186-5862


(p)U S ATTORNEY’S OFFICE                             Honorable Merrick Garland                            IRS Centralized Bankruptcy Department
99 NE 4TH STREET SUITE 300                           Attorney General                                     PO Box 7346
MIAMI FL 33132-2131                                  Dept of Justice #4400                                Philadelphia, PA 19101-7346
                                                     950 Pennsylvania Ave NW
                                                     Washington, DC 20530-0009

JPMorgan Chase Bank, N.A.                            MERRICK BANK                                         Merrick Bank/CCHoldings
s/b/m/t Chase Bank USA, N.A.                         Resurgent Capital Services                           Attn: Bankruptcy
c/o National Bankruptcy Services, LLC                PO Box 10368                                         P.O. Box 9201
P.O. Box 9013                                        Greenville, SC 29603-0368                            Old Bethpage, NY 11804-9001
Addison, Texas 75001-9013

(p)NATIONAL CREDIT SYSTEMS                           Office of the US Trustee                             Quantum3 Group LLC as agent for
ATTN BANKRUPTCY                                      51 S.W. 1st Ave.                                     CF Medical LLC
PO BOX 672288                                        Suite 1204                                           PO Box 788
MARIETTA GA 30006-0039                               Miami, FL 33130-1614                                 Kirkland, WA 98083-0788


(p)SOUTH BROWARD HOSPITAL DISTRICT                   Synchrony Bank/BRMart                                Synchrony Bank/JCPenney
ATTN D/B/A MEMORIAL HEALTHCARE SYSTEM                Attn: Bankruptcy                                     Attn: Bankruptcy
3111 STIRLING RD                                     Po Box 965060                                        Po Box 965060
C/O LEGAL DEPARTMENT                                 Orlando, FL 32896-5060                               Orlando, FL 32896-5060
HOLLYWOOD FL 33312-6566

Transunion                                           Western Funding Inc                                  Western Funding Inc c/o
Attn: Bankruptcy Dept.                               Attn: Bankruptcy Dept                                Resurgent Capital Services
P.O. Box 2000                                        P.O. Box 94858                                       PO Box 3427
Chester, PA 19016-2000                               Las Vegas, NV 89193-4858                             Greenville, SC 29602-3427


Daylee Garcia                                        Jose A Blanco                                        Nancy K. Neidich
921 NE 199 St, Apt 107                               Jose A. Blanco, P.A.                                 www.ch13miami.com
Miami, FL 33179-5812                                 102 E 49th ST                                        POB 279806
                                                     Hialeah, FL 33013-1853                               Miramar, FL 33027-9806




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CarMax Auto Finance                                  Chase Card Services                                  Department of the Treasury
Attn: Bankruptcy                                     Attn: Bankruptcy                                     PO Box 21126
Po Box 440609                                        P.O. 15298                                           Philadelphia, PA 19114
Kennesaw, GA 30160                                   Wilmington, DE 19850


Equifax                                              Honorable Markenzy Lapointe                          National Credit Systems, Inc.
Attn: Bankruptcy Dept.                               US Attorney for Southern District                    Attn: Bankruptcy
P.O. Box 740241                                      99 NE 4 St                                           P.O. Box 672288
Atlanta, GA 30374                                    Miami, FL 33132                                      Atlanta, GA 30006
                                  Case 23-16998-LMI             Doc 52       Filed 01/04/24         Page 3 of 3
South Broward Hospital District
3111 Stirling Road
Fort Lauderdale, FL 33312




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Miami                                             End of Label Matrix
                                                     Mailable recipients    50
                                                     Bypassed recipients     1
                                                     Total                  51
